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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  BEAUFORT DIVISION

 RICHARD ALEXANDER                                 )
 MURDAUGH, JR.,                                    )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )
                                                   )   Civil Action No.: 9:24-cv-04914-RMG
 BLACKFIN, INC., WARNER BROS.                      )
 DISCOVERY, INC., WARNER                           )
 MEDIA ENTERTAINMENT PAGES,                        )        MOTION TO DISMISS OF
 INC., CAMPFIRE STUDIOS INC.,                      )           BLACKFIN, INC.
 THE CINEMART LLC, NETFLIX,                        )
 INC., GANNETT CO., INC. and                       )
 MICHAEL M. DEWITT, JR.,                           )
                                                   )
                Defendants.                        )
                                                   )



        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Blackfin,

Inc. (“Blackfin”) respectfully moves this court for an Order dismissing Plaintiff’s Complaint. The

basis for this Motion is that the Complaint fails to state a claim upon which relief can be granted.

        This Motion is supported by applicable law, Blackfin’s Memorandum of Law filed

simultaneously herewith, and any additional supporting memoranda that may be submitted by

Blackfin at or before any ruling on this Motion.

       WHEREFORE, Defendant Blackfin, Inc. respectfully requests that the Court enter an

Order Dismissing Plaintiff’s Complaint.
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                              Respectfully submitted,

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                               Attorneys for Defendants Blackfin, Inc., Warner Bros.
                               Discovery, Inc., Warner Media Entertainment Pages, Inc. and
                               Campfire Studios Inc.

Charleston, South Carolina
October 16, 2024




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